Case 4:19-cv-03359 Document1 Filed on 08/29/19 in TXSD Page 1 of 7

IN THE U. S. DISTRICT COURT OF THE SOUTHERN DISTRICT, TEXAS

PATRICK CHARLES

PLAINTIFF

VS.

CALIBER HOME LOANS

&

U.S BANK TRUST N.A. TRUSTEE LSF9 AS MASTER PARTICIPATION TRUST.
DEFENDANTS.

DEMANDS FOR JURY TRAIL

PLAINTIFFS ORIGINAL PETITION:
TO THE HONORABLE JUDGE OF THE SAID COURT:

Patrick Charles, plaintiff, files this original petition against defendants CALIBER HOME LOANS
SERVICING INC,

U.S. BANK TRUST, N.A. TRUSTEE, LSF9 AS MASTER PARTICIPATION TRUST.
in support off cause of action, would respectfully show the court the following: the parties:
Patrick Charles is a Texas residence who resides in fort bend county, Texas.

2, CALIBER HOME LOANS IS A SERVICE, LOAN COMPANY, MORTGAGE COMPANY DOING
BUSINESSIN THE STATE OF TEXAS WHICH MAY BE SERVED THROUGH ITS REGISTERED
AGENT FOR SERVICE OF PROGRESS IN TEXAS, CT CORPORATION, SYSTEM VIA CERTIFIED
MAIL IN IRVIN TEXAS,3701 REGENT BLVD. IRVIN TEXAS 75063. OR 13801 WIRELESS WAY,
OKLAHOMA CITY, OK 73134-2500.

2. U.S. BANK TRUST, N. A TRUSTEE, LSF9 AS MASTER PARTICIPATION TRUST. 3701
WIRELESS WAY, OKLA HOMA CITY, OK 73134-2500.

DISCOVERIES
3. this case is intended to be governed by discovery level 2.

CLAIM OF RELIEF.
Case 4:19-cv-03359 Document1 Filed on 08/29/19 in TXSD Page 2 of 7

4.The damages sought is within the jurisdictional limits of this court. plaintiffs currently seeks
monetary relief over 20 million dollars not more than 21 million, including damages of any kind,
penalties, cost, expenses, pre-judgment interest, punitive damages, prejudgment interest,
damages for violation of personal right , constitutional right, damages for destruction of
personal property, damages for abuse of an vulnerable elderly adult, and attorney fees.
damages for wrongful eviction and forcefully detained from his home, for a debt not owed,
Patrick Charles is not the borrower, nor have any contract or document signed with. U.S. BANK
TRUST, N. A. TRUSTEE, LSF9 AS MASTER PARTICIPATION TRUST U.S and caliber home loans
SERVICING INC.

1V. jurisdiction Venue.

5. the court has subject matter jurisdiction of this cause of actions because it involves an
amount in controversies in excess of the minimum jurisdictional limits of this court. no diversity
of citizen exists in this matter.

6. Venue is proper in Fort bend County because all or a substantial part of the events or
omission s giving rise to the claim occurred in this county, and Fort Bend County, Texas civ. &
rem code 15.002 (a)(1). in particular, lost at issue occurred in fort bend county, Texas.

Factual background.
7. Patrick Charles is named as property owner of 507 sandy walk, Stafford, Texas 77477.

Eno obasogie / Hillary Udoete are the lien holder on the contracted deed and onthe said
property, 507 sandy walk, Stafford texas.77477.

8. Patrick Charles, purchased this property ,507 sandy walk, Stafford Texas 77477, from Eno
obasogie c/o Hillary Udoete on November 3", 2017, for $278,900.00, with a monthly payment of
$900.00, a contract deed was signed and filed in the fort bend county which shows that Patrick
Charles is 100% owner of the said property and in possession of the property

All the taxes were paid by Patrick Charles and Eno Obasogie, the contestation of the tax rate on
the property, value was done by Patrick Charles. Attached copy of tax record and contestation
document. Renovation was done on the said property by Patrick Charles.

U.S BANK TRUST, NA. TRUSTEE,LSF9 AS MASTER PARTICATION TRUST AND CALIBER HOME
LOAN, wrongfully evicted Patrick Charles an elderly man with disability and his entire family the
owner of 507 Sandy Walk Stafford, Texas 7747for fora debt not owed, neither has had any
contract with the said banks., Patrick Charles requested from U.S BANK TRUST, NA. TRUSTEE,
LSF9 AS MASTER PARTICATION TRUST AND CALIBER HOME LOAN SERVING INC TO prove any
contract, or loan documents, if any, that Patrick Charles has with U.S BANK TRUST, NA.
TRUSTEE, LSF9 AS MASTER PARTICATION TRUST AND CALIBER HOME LOAN SERVING INC,
Patrick Charles requested production of the relevant document of the loan or contract to be
 

Case 4:19-cv-03359 Document1 Filed on 08/29/19 in TXSD Page 3 of 7

produced as proof of the indebtedness between both parties, but defendants ignored and
refused to produce the requested contract.

Patrick Charles never signed any contractual agreement with U.S. BANK TRUST N.A. TRUSTEE
LSF9 AS PARTICIPATION TRUST AND CALIBERHOME LOAN SERVICING INC, cannot prove that
Patrick Charles owes the debt, as opposed to the original creditor which is Ralph T. Brown, the
former owner, the third party debt collector never has any information that is required under the
FDCP, (Fair debt Collection practice Act), that Patrick Charles owes the debt, that heis
obligated to pay. It is against the fair debt collection practice act to have someone else pay a
debt not owed or have to pay the penalty or being vindicated, or suffer the consequences for the
debt not owed, Patrick Charles and family has suffered and damaged bitterly and became a
victims of circumstance for a debt not owed.

US. BANK TRUST NA. TRUSTEE, LSF9 AS MASTER PARTICIPATION TRUST AND CALIBER
HOME LOAN intentionally, knowingly, recklessly, with criminal negligence, by act by omission,
causes

(1) serious bodily injury;
(2) serious mental deficiency, impairment, or injury; or
(3) bodily injury.

, wrongfully and forcefully evicted Patrick Charles and entire family with kids through
misrepresentation and knowingly forcefully evicted my family and | the owner of the said
property 507 Sandy Walk Stafford, Texas 77477.

CAUSES OF ACTION:

Patrick Charles who is disabled and elderly man, with children were abused, damaged A
person commits an offense if he intentionally, knowingly, recklessly, or with criminal
negligence, by act or intentionally, knowingly, or recklessly by omission, causes to a child,
elderly individual, or disabled individual:

seriously caused bodily injury; serious mental deficiency, impairment, or injury; or

bodily injury. by U.S BANK N.A. and Caliber home loan, Patrick Charles and the entire
family were put out from their home in the cold with children, with nowhere to go, all of his
entire life time properties owned and the entire family life time properties owned were
thrown outside on the street, in the rain and some were looted and destroyed, this incident
happened in October 17'" 2018. at 2.45 PM., we had no food to eat, no clothes to wear, no
money, nowhere to take a bath, and had to sleep on street in the car for several nights we
were deprived of life and liberty, we were treated as a nobody.
this illegal and forceful eviction caused severe depression and serious mental deficiency,
impairment, or injury, to me and the entire family, we became very sick and had to be
rushed to the emergency hospital several times due to stress, depression, dehydration, one
of our little child cried until blood gushed out of her nostril, their school attendance was
badly affected, as a result of this unlawful eviction.

 
Case 4:19-cv-03359 Document1 Filed on 08/29/19 in TXSD Page 4 of 7

U.S. BANK. Bank TRUST NA TRUSTEE LSF9 AS MASTER PARTICIPATION TRUST ANS CALIBER
HOME LOAN was negligent because they had full knowledge of the fact that the former owner
RALTH T. BROWN, did not own the property and _ lost title to the property since 2013.

Patrick Charles an elderly man with disabilities and in children were and family were illegally
put out from his own property/home, 507 SANDY Walk Stafford, TEXAS 77477, the foreclosure
was willful, intentionally, malicious because Patrick Charles was not the borrower, as a result
of the wrong eviction.

Patrick Charles an elderly man, disabled, was abused by U.S. BANK TRUST NA. TRUSTEE, LSF9
AS MASTER PARTICIPATION TRUST AND CALIBER HOME LOAN, that intentionally and
maliciously inflicted pain and suffering on me and on my family.

| suffered Physical abuse, Emotional abuse, harassment, intimidation.

| was threatened and became afraid for my life. | confined, restraint from entering into my
home, | became isolated,| was intentionally deprive as an elderly person of essentials amenities
such as food, water, shelter, medication and physical assistance without my consent without
care.

Which is against the Texas Penal Code - PENAL § 22.04. Injury to a Child, Elderly Individual, or
Disabled Individual

The children in the home was deprived of food, sheiter, clothing, medication, and the necessity
of life, of which this affected them very terribly and thy suffered, emotionally, mentally, and
physically.

12. Patrick Charles name on the said property deed and TAX was changed TO U.S. BANK
TRUST N.A. TRUSTEELSF9 AS MASTER PARTICIPATION TRUST, AS 100 % OWNER ,of 507
Sandy Walk, STAFFORD TEXAS 77477 without my knowledge and consent.

17. U.S. BANK TRUST NA. TRUSTEE, LSF9 AS MASTER PARTICIPATION TRUST, stated that
Patrick Charles sold his property, 507 walk Stafford to U.S. BANK TRUST N.A. TRUSTEE LSF9,
AS MASTER PARTICIPATION TRUST, this information is untrue.

| HEREBY DEMAND FROMU.S. BANK TRUST N.A TRUSTEE LSF9 AS MASTER PARTICIPATION
TRUST TO PROVE A CLAIM OF DEBT AND CONTRACT WITH PATRICK CHARLES, IF THIS
CANNOT BE PROVEN U.S. BANK TRUST N.A IS LIABLE OF ALL DAMAGES AND LOSS THAT
PATRICK CHARLESAND HIS ENTIRE FAMILY SUFFERED.

Patrick filed bankruptcy chapter 13 in order to save his property, but the bankruptcy was
dismissed before all the papers were filed , jack O’Boyle the attorney FOR U.S. BANK TRUST NA.
Case 4:19-cv-03359 Document1 Filed on 08/29/19 in TXSD Page 5 of 7

TRUSTEE, LSF9 AS MASTER PARTICIPATION TRUST was served with the bankruptcy papers on
the 18" of August 2018 but on the 19"°°f August the Attorney for U.S BANK, Jack O’ Boyle
called me on my cell phone and left a threatening message, stating that he is aware of the
bankruptcy filing that he will put me down, he will do all in his power to lift up the automatic
stay, and will proceed with taking over my property, of which

Jack O'Boyle the attorney FOR U.S. BANK TRUST NA. TRUSTEE, LSF9 AS MASTER
PARTICIPATION TRUST, had full knowledge of the fact that the alleged debtor is not Patrick
Charles and he is not the debtor, but still willfully continue to carry out its wrongful eviction on
the wrong parties.

The threatening message got me stress, scared depressed, | was taken to the hospital, for
medical attention. violated the automatic stay, code 11 U.S code 362(k)

My entire family and | were wrongful evicted due to an alleged debt not owe by U.S. bank trust
N.A. TRUSTEE LSF9 AS MASTER PARTICIPATION TRUST AND CALIBER HOME and due to the
forceful eviction, my family and | have suffered the following:

1. Depression

2 Stresses

3. Physically Abuse

4 Financial hardships

5. Lost of comfort & safety
6. Humiliation

7. Psychological distress
8.Mental Anguish

9 Emotional Distress

10 Hardship
11Emotional abuse
12.Distress.

13 Loss of belonging

14.Loss of personal private properties
Case 4:19-cv-03359 Document1 Filed on 08/29/19 in TXSD Page 6 of 7

15. Neglect

16 wrongful eviction

17. Loss of property.

18. Violation of Rights

19 violation of human Rights.

20. suffered irreparable damages

My family and | are still suffering a result of this wrongful eviction.

My family and | are undergoing counseling for depression, anxiety, mental anguish
psychological distress, and emotional abuse etc.

Patrick Charles and entire family is depressed, and undergoing counseling as a result of the
wrongful and forceful eviction, my home taken away, all life time personal properties looted and
destroyed, he has suffered loss of comfort and safety, ,he has suffered physical abuse, mental
abuse, mental anguish, humiliation , homeless, my personal right was violated, my
constitutional right was violated, my credit is messed up because | was forced to file
bankruptcy, the bankruptcy code was violated by the attorney, JACK O'BOYLE representing U.S.
BANK TRUST N.A. TRUSTEE LSF9 AS MASTER PARTICIPATION TRUST called Patrick Charles
while the automatic was in effect, he made the called on the 19th of August 2018, and
threatened Patrick CHARLES of his intention to lift up the stay and continue to take over my
property, |BECAME afraid stressed and was later hospitalized.

PRAYER FOR RELIEF:

Patrick Charles And Entire Family is seeking relief, compensation, monetary relief, punitive
damages, pre interest damages, post interest for damages and losses suffered as a result of
this illegal wrongful eviction for a debt not owe, for violation of rights, for trespassed and
invading our privacy.

Patrick Charles and entire family have suffered damages, abuse, loss of home, financial
hardship, humiliation, shame, harassment, mental anguish, stress and distress etc.

We seek remedy in equity and relief to the damages and losses that my family and | have
suffered as a result of this wrongful eviction in the amount of $20 million dollars and what is
deemed right by the court and return of my properties located at 507 sandy walk Stafford Texas
77477 for remedy to the damages that my family and | have suffered ..

CERTIFICATE OF SERVICE:

| hereby certify that a copy or the foregoing instrument has been served on the defendants U.S.
BANK TRUST N.A. TRUSTEE LSF9 AS MASTER PARTICIPATION TRUST & CALIBER HOME
Case 4:19-cv-03359 Document1 Filed on 08/29/19 in TXSD Page 7 of 7

LOANS AT THE FOLLQWING ADDRESSES BY U.S. FIRST CLASS MAIL, HAND DELIVERY, FAX OR
EMAIL ON THIS 019.

U.S. BANK TRUST N.A. TRUSTEE LSF9 AS MASTER PARTICIPATION TRUST. WHOSE IS 13801
WIRELESSWA, OKLOMA CITY, OK 7314-2500

CALIBER HOME INC.ISAOA/ ATIMA.P.0. BOX 7731 SPRINGFIELD OH. 45501-7731

722 Row vell Che Lee Missouri City Texas 77489.

 

 
